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 9                             UNITED STATES DISTRICT COURT
10                            CENTRAL DISTRICT OF CALIFORNIA

11   ETHAN YOUNG and GREG YOUNG,
12   Derivatively on Behalf of Nominal           Case No. 2:18-cv-06587-SJO-
     Defendant, DPW HOLDINGS, INC.,              PLA
13
14                 Plaintiffs,
                                                 PLAINTIFFS’ UNOPPOSED
15          vs.                                  NOTICE OF MOTION AND
16                                               MOTION FOR
     MILTON C. AULT III, AMOS KOHN,              PRELIMINARY APPROVAL
17   WILLIAM B. HORNE, and KRISTINE              OF SETTLEMENT;
18   AULT,                                       MEMORANDUM OF POINTS
                                                 AND AUTHORITIES IN
19                 Defendants,                   SUPPORT THEREOF
20
            and                                  Date: March 30, 2020
21                                               Time: 10:00 a.m.
22   DPW HOLDINGS, INC.,                         Courtroom: 10C

23                Nominal Defendant.             Hon. S. James Otero
24
25
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 1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2   PLEASE TAKE NOTICE that on March 30, 2020 at 10:00 a.m., or as soon thereafter
 3   as this matter may be heard in the United States District Court for the Central District
 4   of California, 350 W. First Street, Courtroom 10C, Los Angeles, CA 90012, Pursuant to
 5   Federal Rule of Civil Procedure 23.1(c), and upon the Stipulation of Settlement dated
 6   and filed with the Court on February 24, 2020 (the “Stipulation”),1 plaintiffs Ethan
 7   Young and Greg Young (“Plaintiffs”), derivatively on behalf of DPW Holdings, Inc.
 8   (“DPW” or the “Company”), respectfully submit this unopposed Motion, which moves
 9   this Court for entry of an Order in the form attached as Exhibit B to the Stipulation
10   (the Parties’ proposed “Preliminary Approval Order”):
11           1.     Granting preliminary approval of the proposed Settlement on the terms set
12   forth in the Stipulation;
13           2.     Approving the proposed substance and form of the Notice and Summary
14   Notice, attached as Exhibit C and Exhibit D to the Stipulation;
15           3.     Preliminarily approving Plaintiffs’ Counsel’s mutually agreed upon Fee
16   and Expense Award; and
17           4.     Scheduling a date for the Final Hearing on the Settlement.
18           The Parties’ proposed Preliminary Approval Order includes blanks for the date
19   and time of the Settlement Hearing, which the Court must complete in order to properly
20   effectuate the Settlement. In this regard, Plaintiffs and Defendants request the following
21   schedule, if the Court preliminarily approves the Settlement:
22
23
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     1
         Terms not defined herein shall have the meanings ascribed to them in the Stipulation.
                                                  i
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 1
 2                      Event                               Time for Compliance
 3
       Deadline for filing the Summary              Not later than ten (10) calendar days
 4     Notice in a Current Report on a Form         following the entry of the Preliminary
 5     8-K with the U.S. Securities and             Approval Order
       Exchange Commission, publishing the
 6     Summary Notice via a press release,
 7     and posting the Notice together with
       the Stipulation (with Exhibit A to the
 8     Stipulation) on DPW’s corporate
 9     website
       Deadline for Plaintiffs to file papers in    At least twenty-eight (28) calendar
10     support of the final approval of             days prior to the Final Hearing
11     Settlement and the Fee and Expense
       Award
12
       Deadline for any shareholder                 At least twenty-one (21) calendar days
13     objections by DPW Shareholders to the        prior to the Final Hearing
       Settlement to be filed with the Court
14
       Deadline for Plaintiff to file of any        At least seven (7) calendar days prior
15     response to objections, if any, by DPW       to the Final Hearing
       Shareholders
16
       Final Hearing date                           Fifty-five (55) calendar days after entry
17                                                  of the Preliminary Approval Order, or
18                                                  later at the Court’s convenience

19
20         Each of the dates for the events set forth above are tied either to the entry of the
21   proposed Preliminary Approval Order or to the Final Hearing date, the latter of which
22   Plaintiffs respectfully requests to be scheduled approximately fifty-five (55) days after
23   the entry of the Preliminary Approval Order, or at a later date at the Court’s
24   convenience. If this schedule is not convenient for the Court, Plaintiffs request that the
25   Court utilize similar time intervals for the events in completing the proposed
26   Preliminary Approval Order.
27   For the reasons set forth in the Stipulation, this Motion, and the accompanying
28   Memorandum of Points and Authorities in Support thereof, Plaintiffs respectfully


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 1   request that the Court find that the proposed Settlement merits preliminary approval
 2   and enter the Preliminary Approval Order.
 3         This motion is made following the conference of counsel. Defendants do not
 4   oppose this motion.
 5
 6   Dated: February 24, 2020
 7                                         By: /s/ Alex B. Heller
 8                                             Alex B. Heller
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18                                               Counsel for Plaintiffs Ethan Young and
                                                 Greg Young
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 1          Plaintiffs Ethan Young and Greg Young (“Plaintiffs”),2 by and through their
 2   undersigned counsel, hereby submit this memorandum of points and authorities in
 3   support of their unopposed motion for preliminary approval of the settlement of the
 4   above-captioned shareholder derivative action (the “Action”) brought on behalf of
 5   DPW Holdings, Inc. (“DPW” or the “Company”).
 6   I.    INTRODUCTION
 7          Plaintiffs are pleased to inform the Court that after engaging in hard-fought
 8   litigation and extensive, arm’s-length negotiations, the Parties to the Action have agreed
 9   to the Settlement, which fully, finally, and forever resolves, discharges, and settles the
10   Released Claims, while providing substantial benefits to DPW and DPW
11   Shareholders, in the form of extensive corporate governance reforms. As a result of
12   the filing, pendency, and settlement of the Action, DPW will implement the valuable
13   corporate governance reforms, which are attached as Exhibit A to the Stipulation (the
14   “Reforms”).    The significant Reforms are designed to address and prevent the
15   recurrence of the issues that gave rise to the litigation. In addition, in recognition of
16   the substantial benefits provided to DPW and DPW shareholders as a result of the
17   settlement of the Action, the Company agrees to cause Defendants’ insurer to pay
18   Plaintiffs’ Counsel’s agreed-to Fee and Expense Award of $600,000 (the “Fee and
19   Expense Award”), subject to approval by the Court. Stip. § V.
20         The Settlement is fair, reasonable, and adequate. The Settlement constitutes an
21   appropriate resolution of litigation of substantial complexity and is within the range
22   of possible approval, thereby satisfying the test courts typically employ in reviewing
23   a settlement for preliminary approval. Accordingly, Plaintiffs respectfully request the
24   Court to: (i) preliminarily approve the Settlement set forth in the Stipulation; (ii)
25   approve the form of the Notice and Summary Notice, and direct the dissemination of
26
27   2
       All capitalized terms not defined herein shall have the same definitions as set forth in
28   the Stipulation and Agreement of Settlement dated and filed with the Court on February
     24, 2020 (the “Stipulation,” or “Stip.”).

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 1   the Notice and Summary Notice as contemplated by the Stipulation; and (iii) schedule
 2   a hearing to entertain any objections by DPW Shareholders and to consider final
 3   approval of the Settlement (the “Final Hearing”).
 4   II.   PROCEDURAL HISTORY OF THE ACTION AND THE PARTIES’
           SETTLEMENT NEGOTIATIONS
 5
 6         Plaintiffs’ Counsel performed an extensive and thorough investigation relating to
 7   the claims and the underlying events alleged in the Action, including, but not limited
 8   to, reviewing and analyzing numerous public filings with the United States Securities
 9   and Exchange Commission (“SEC”) and other publicly available information.
10   Plaintiffs then commenced the above-captioned action against the Individual
11   Defendants in the U.S. District Court for the Central District of California (the “Court”),
12   asserting claims derivatively on behalf of DPW. Plaintiffs filed their first complaint on
13   July 31, 2018 (“Initial Complaint”), asserting, among other things, that the Individual
14   Defendants had breached their fiduciary duties.         The detailed Initial Complaint,
15   comprised of 332 paragraphs and 114 pages, was filed against the Individual
16   Defendants, as well as the following current members of the board of directors: Jeff
17   Bentz, Robert O. Smith and Mordechai Rosenberg.
18         On November 28, 2018, Defendants filed a Motion to Dismiss the Initial
19   Complaint. The motion to dismiss was fully briefed and on February 25, 2019, the
20   Court granted in part and denied in part the Motion to Dismiss the Initial Complaint
21   with leave to amend.
22         On March 11, 2019, Plaintiffs filed an Amended Complaint (the “Amended
23   Complaint”). On March 25, 2019, the Defendants filed a Motion to Dismiss the
24   Amended Complaint. The Parties fully briefed the Motion to Dismiss the Amended
25   Complaint. On May 21, 2019, the Court issued an order denying in part the Motion to
26   Dismiss the Amended Complaint (the “May 21, 2019 Order”), in which the Court: (i)
27   dismissed Jeff Bentz, Robert O. Smith and Mordechai Rosenberg; and (ii) held, inter
28   alia, that with respect to the other Defendants named in the Amended Complaint,


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 1   Plaintiffs (a) adequately pled demand futility, (b) sufficiently alleged claims for breach
 2   of fiduciary duty related to certain transactions, and (c) adequately pled a claim for
 3   unjust enrichment. The May 21, 2019 Order permitted Plaintiffs’ breach of fiduciary
 4   duty allegations surrounding certain transactions to proceed, including: (i) claims based
 5   on related party transactions; (ii) claims based on loans and other debt financing; and
 6   (iii) claims based on stock issuances. On June 27, 2019, Defendants filed an answer to
 7   the Amended Complaint.
 8         Plaintiffs propounded Requests for the Production of Documents on August 7,
 9   2019, to which Defendants served responses and objections on September 6, 2019.
10         On October 21, 2019, the Parties and the Defendants’ directors and officers
11   liability insurance carrier participated in a day-long mediation in New York, New York
12   (the “Mediation”), which was presided over by Jed D. Melnick, Esq. of JAMS (the
13   “Mediator”). At the Mediation, the Parties reached an agreement in principle with
14   respect to the material terms of the corporate governance reforms to be instituted by
15   DPW. As consideration for the Settlement, DPW will institute extensive corporate
16   governance reforms, the terms of which are fully set forth in Exhibit A attached to the
17   Stipulation.
18         Only after agreeing in principle to the material terms of the Reforms to be
19   instituted by DPW did the Parties begin to negotiate, with the assistance of the Mediator,
20   the attorneys’ fees and expenses to be paid to Plaintiffs’ counsel. The Parties did not
21   reach an agreement on attorneys’ fees and expenses at Mediation.
22         Following Mediation, with the assistance of the Mediator, the Parties continued
23   to discuss attorneys’ fees and expenses to be paid by the Defendants’ directors and
24   officers liability insurance. On October 28, 2019, the Parties reached an agreement on
25   the attorneys’ fees and expenses to be paid to Plaintiffs’ counsel.
26         As a result of the extensive, arm’s-length negotiations among the Parties, on
27   January 21, 2020 the Parties finalized the complete terms of the Reforms as set forth in
28


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 1   Exhibit A attached hereto, which includes the material terms that the Parties agreed to
 2   at Mediation.
 3   III.   THE SETTLEMENT
 4          As discussed above, the Parties, through their respective, highly experienced
 5   counsel, have engaged in good-faith and protracted arm’s-length negotiations to resolve
 6   the Action. Their diligence and extensive discussions culminated in the Stipulation,
 7   which fully sets forth the terms and conditions of the Settlement. As discussed above,
 8   as a result of the initiation, prosecution, pendency, and proposed Settlement of the
 9   Action, DPW’s board of directors (the “Board”) will adopt by resolution, or other means
10   as appropriate, the corporate governance reforms set forth in Exhibit A to the
11   Stipulation. The Reforms call for changes, modifications, and improvements to
12   DPW’s corporate governance. See Stip., Ex. A. The Reforms require the removal of a
13   non-independent director from the Board and the appointment of two new independent
14   directors, thus resulting in a board composed of five independent directors and two
15   non-independent directors. Id. The Reforms also institute heightened independence
16   requirements for Board members to qualify as independent. Id. The Reforms require
17   that the two new independent directors be appointed to a three-member Governance
18   Committee, which is tasked with, inter alia, reviewing related party transactions
19   subject to a newly created related party transaction policy. Id. Moreover, the Reforms
20   institute an enhanced definition for identifying related parties. Id. Additionally, the
21   Governance Committee is also tasked with reviewing the Company’s issuance of
22   stock. Id. The Reforms also require the Company’s Audit Committee to review all debt
23   financing, including loans and future receipts agreements. Id. Furthermore, the Reforms
24   include amendments and improvements to the Company’s Bylaws, Audit Committee
25   Charter, whistleblower policy, and compensation clawback policy. Id. The Reforms,
26   thus, directly address the allegations made in the Action that this Court sustained
27   pursuant to the May 21, 2019 Order. Further, as the Court previously found, the
28   Company lacked a majority of independent Board members. The Reforms address


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 1   and remediate the Company’s lack of a Board composed of a majority of independent
 2   members and requires that a majority of the Board remain independent throughout the
 3   five-year term for the Reforms.
 4         The releases in the Settlement are appropriately tailored to claims brought on
 5   behalf of the Company arising from the allegations of the complaint in this Action.
 6   The Settlement makes clear that Plaintiffs are releasing certain claims held
 7   derivatively on behalf of DPW or by DPW itself. The Plaintiffs are not releasing any
 8   direct claims held by any current, former, or future stockholder of DPW.
 9   IV.   ARGUMENT
10         A.     The Role of the Court in the Approval of a Derivative Settlement
11         There is a strong policy favoring compromises that resolve litigation,
12   “particularly in class actions and other complex cases where substantial judicial
13   resources can be conserved by avoiding formal litigation.” In re GMC Pick-Up Truck
14   Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 784 (3d Cir. 1995). The “[s]ettlements of
15   shareholder derivative actions are particularly favored because such litigation ‘is
16   notoriously difficult and unpredictable.’” Cohn v. Nelson, 375 F. Supp. 2d 844, 852
17   (E.D. Mo. 2005).
18         Federal Rule of Civil Procedure 23.1 governs a district court’s analysis of the
19   fairness of a settlement of a shareholder derivative action. In re Pac. Enters. Sec. Litig.,
20   47 F.3d 373, 377 (9th Cir. 1995). Under Rule 23.1, a derivative action “may be settled,
21   voluntarily dismissed, or compromised only with the court’s approval. Notice of a
22   proposed settlement, voluntary dismissal, or compromise must be given to shareholders
23   or members in the manner that the court orders.” Fed. R. Civ. P. 23.1(c).
24         The Ninth Circuit provided factors which may be considered in evaluating the
25   fairness of a class action settlement:
26                The district court’s ultimate determination will necessarily
                  involve a balancing of several factors which may include,
27                among others, some or all of the following: the strength of
                  plaintiffs’ case; the risk, expense, complexity, and likely
28                duration of further litigation; the risk of maintaining class
                  action status throughout the trial; the amount offered in

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 1                settlement; the extent of discovery completed, and the stage
                  of the proceedings; the experience and views of counsel; the
 2                presence of a governmental participant; and the reaction of
                  the class members to the proposed settlement.
 3
 4   Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615, 625 (9th Cir. 1982).
 5         As Rules 23 and 23.1 of the Federal Rules of Civil Procedure both require court
 6   approval for the compromise of class and derivative actions, the factors laid out for
 7   determining whether to approve a class action settlement are also applicable to
 8   derivative settlements. See Alba Conte and Herbert B. Newberg, 4 Newberg on Class
 9   Actions § 22:109 (4th ed. 2002); see also Shlensky v. Dorsey, 574 F.2d 131, 147 (3d
10   Cir. 1978) (“While in Girsh v. Jepson we discussed the necessity of considering such
11   factors in determining the fairness of the settlement of a class action in order to protect
12   the rights of absent members of the class of plaintiffs, it is clear that the same factors
13   are relevant in a shareholders’ derivative suit.”).
14         The district court must exercise “sound discretion” in approving a settlement.
15   Ellis v. Naval Air Rework Facility, 87 F.R.D. 15, 18 (N.D. Cal. 1980), aff’d, 661 F.2d
16   939 (9th Cir. 1981); Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1375 (9th Cir.
17   1993). Therefore, in exercising its discretion, “the court’s intrusion upon what is
18   otherwise a private consensual agreement negotiated between the parties to a lawsuit
19   must be limited to the extent necessary to reach a reasoned judgment that the agreement
20   is not the product of fraud or overreaching by, or collusion between, the negotiating
21   parties, and that the settlement, taken as a whole, is fair, reasonable and adequate to all
22   concerned.” Officers for Justice, 688 F.2d at 625. The Ninth Circuit defines the limits
23   of the inquiry to be made by the court in the following manner:
24                Therefore, the settlement or fairness hearing is not to be
                  turned into a trial or rehearsal for trial on the merits. Neither
25                the trial court nor this court is to reach any ultimate
                  conclusions on the contested issues of fact and law which
26                underlie the merits of the dispute, for it is the very uncertainty
                  of outcome in litigation and avoidance of wasteful and
27                expensive litigation that induce consensual settlements. The
                  proposed settlement is not to be judged against a hypothetical
28                or speculative measure of what might have been achieved by
                  the negotiators.

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 1   Id. (emphasis added).
 2         B.     The Court Should Preliminarily Approve the Settlement and Consider
                  Final Approval After Notice is Provided to DPW Shareholders
 3
 4         At the Final Hearing, the Court will have before it detailed papers submitted in
 5   support of the Settlement and will be asked to make a determination as to whether the
 6   Settlement is fair, reasonable, adequate, and in the best interest of those whose claims
 7   will be extinguished. While Plaintiffs believe that the Settlement merits this Court’s
 8   final approval, at this time Plaintiffs respectfully request only that the Court grant
 9   preliminary approval of the Settlement. To grant preliminary approval, the Court need
10   only conclude that the settlement of the claims against the Individual Defendants is
11   “within the range of possible approval” to preliminarily approve the Settlement for the
12   purposes of providing notice and holding a future fairness hearing.3
13         Plaintiffs respectfully submit that this Court may easily find that the Settlement
14   is “within the range of possible approval.” As a threshold matter, the Settlement was
15   reached after extensive arm’s-length negotiations between and among counsel for the
16   Plaintiffs and the Defendants, and provides substantial benefits to the Company and
17   DPW Shareholders while eliminating the expense, risk, and delay inherent in such
18   complex litigation, including the very real risk of no recovery. Moreover, the Company
19   approved the Settlement only after determining that the Settlement of the Action under
20   the terms set forth in the Stipulation, including the institution of the Reforms,
21
22   3
         As the Manual for Complex Litigation explains:
23
                  If the preliminary evaluation of the proposed settlement does
24                not disclose grounds to doubt its fairness or other obvious
                  deficiencies, such as unduly preferential treatment of class
25                representatives or of segments of the class, or excessive
                  compensation for attorneys, and appears to fall within the
26                range of possible approval, the court should direct that notice
                  under Rule 23(e) be given to the class members of a formal
27                fairness hearing, at which arguments and evidence may be
                  presented in support of and in opposition to the settlement.
28
     Manual for Complex Litigation §30.41, at 237 (3d ed. 1995).
                                                7
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 1   substantially benefits the Company. Stip. ¶¶ 2, 7. Under these circumstances, Plaintiffs
 2   respectfully submit that the Settlement is “within the range of possible approval” and
 3   should be preliminarily approved.
 4         Further, reference to some of the factors considered by courts in granting final
 5   approval of derivative and class action settlements lends support to Plaintiffs’ belief that
 6   the Settlement should not only be preliminarily approved, i.e., that it is within the range
 7   of possible approval, but that it also should receive final approval after notice is
 8   provided to DPW Shareholders. Officers for Justice, 688 F.2d at 625. In determining
 9   whether a settlement is fair, courts focus on whether the settlement was reached as a
10   result of good faith bargaining at arm’s-length without collusion. See In re Jiffy Lube
11   Sec. Litig., 927 F.2d 155, 159 (4th Cir. 1991). As discussed above, each element of the
12   Settlement was extensively negotiated between experienced counsel with a firm
13   understanding of the strengths and weaknesses of the claims and defenses asserted, is
14   the product of significant give and take by the Parties, and was reached only after
15   extensive negotiations between counsel for the Plaintiffs and the Defendants with the
16   assistance of an experienced Mediator. Hefler v. Wells Fargo & Co., No. 4:16-cv-
17   05479-JST, 2018 WL 4207245, at *9 (N.D. Cal. Sept. 4, 2018) (“in light of the fact that
18   the Settlement was reached after the parties engaged in motion practice and participated
19   in multiple days of formal mediation, the Court concludes that the negotiations and
20   agreement were non-collusive.”); HCL Partners Ltd. P’ship v. Leap Wireless Int’l, Inc.,
21   No. 3:07cv-02245-MMA-NLS, 2010 WL 4027632, at *2 (S.D. Cal. Oct. 14, 2010)
22   (“Counsel for the parties participated in arm’s length negotiations for several months
23   before reaching an agreement. All parties are represented by competent, experienced
24   litigators, and the active involvement of the Honorable [Daniel] Weinstein (Ret.) as a
25   mediator during a substantial portion of the negotiations weighs considerably in favor
26   of concluding this is not a collusive settlement.”).
27         An evaluation of the benefits of a settlement must also be tempered by
28   recognition that any compromise involves concessions by each settling party. Indeed,


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 1   “the very essence of a settlement is compromise, ‘a yielding of absolutes and an
 2   abandoning of highest hopes.’” Officers for Justice, 688 F.2d at 624. Although
 3   Plaintiffs believe that the claims asserted in the Action are meritorious, liability was by
 4   no means a foregone conclusion.
 5         The continued litigation would be extremely complex, costly, and of substantial
 6   duration. Document discovery would need to be completed, depositions would need to
 7   be taken, experts would need to be designated, and expert discovery conducted. DPW
 8   and the Individual Defendants’ expected motions for summary judgment would need to
 9   be briefed and argued, and if defeated, then a trial would be held. Indeed, significant
10   risks remained in getting past DPW’s and the Defendants’ anticipated motions for
11   summary judgment, and obtaining a favorable judgment at the conclusion of trial. Even
12   if liability were established, the amount of recoverable damages would still pose
13   significant issues and be subject to further litigation. The Settlement eliminates these
14   and other risks of continued litigation while providing DPW and DPW Shareholders
15   substantial benefits. See Id. at 625.
16         It is also clear that even a victory at trial is no guarantee that the judgment would
17   ultimately be sustained on appeal or by the trial court. The Settlement avoids this
18   potential further delay in providing DPW and DPW Shareholders the benefits of the
19   Reforms. It is important for DPW and DPW Shareholders that substantial corporate
20   governance reforms are quickly enacted, which this Settlement requires. Add to these
21   post-trial and appellate risks the difficulty and unpredictability of a lengthy and complex
22   trial – where witnesses could suddenly become unavailable or the fact-finder could react
23   to the evidence in unforeseen ways – and the benefits of the Settlement become all the
24   more apparent.
25         Significant weight should also be attributed to counsel’s belief that this settlement
26   is in the best interest of all those affected by the settlement. See Id. at 625. Plaintiffs,
27   DPW, and the Individual Defendants have independently considered the Settlement,
28   and they all agree that it is in the best interests of DPW and DPW Shareholders. Stip.


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 1   §§ I, 2, 7. Here, Plaintiffs’ Counsel has extensive experience in the area of shareholder
 2   representative litigation. As a result of extensive experience in these types of cases,
 3   Plaintiffs’ Counsel has unique insight into the legal and factual issues presented. In
 4   particular, Plaintiffs’ Counsel utilized that expertise and experience to effectively and
 5   efficiently prosecute the Action and reach an outstanding result for DPW and DPW
 6   Shareholders.    In addition, the parties employed the services of an experienced
 7   Mediator. See Satchell v. Fed. Express Corp., No. C 3:03-cv-02878-SI, 2007 WL
 8   1114010, at *4 (N.D. Cal. Apr. 13, 2007) (“[t]he assistance of an experienced mediator
 9   in the settlement process confirms that the settlement is non-collusive.”).
10         In addition to the terms of the Settlement being fair, adequate, and reasonable,
11   the negotiated and agreed-to Fee and Expense Award to be paid to Plaintiffs’ Counsel
12   is reasonable. In recognition of the substantial benefits provided to DPW and DPW
13   Shareholders as a result of the settlement of the Action, DPW agreed to cause
14   Defendants’ director and officer liability insurance carrier to pay Plaintiffs’ Counsel the
15   Fee and Expense Award of $600,000 for Plaintiffs’ Counsel’s attorneys’ fees and
16   expenses. Stip. ¶ 7. Here, the Parties, along with the Defendants’ directors and officers
17   liability insurance carrier, and with the assistance of the Mediator, negotiated the Fee
18   and Expense Award to be paid by the insurer. Stip. § I. These negotiations resulted in
19   a Fee and Expense Award that is consistent with the benefits conferred upon DPW and
20   DPW Shareholders. The United States Supreme Court has endorsed this type of
21   consensual resolution of attorneys’ fees issues in these kinds of cases as the ideal toward
22   which litigants should strive. Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) (“A
23   request for attorney’s fees should not result in a second major litigation. Ideally, of
24   course, litigants will settle the amount of a fee.”); Ingram v. Coca-Cola Co., 200 F.R.D.
25   685, 695 (N.D. Ga. 2001) (where, as here, there is no evidence of collusion and no
26   detriment to the parties, the court should give “substantial weight to a negotiated fee
27   amount[.]”).
28         Finally, in connection with final approval of the proposed Settlement, Plaintiffs’


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 1   Counsel will seek Court approval for case contribution awards in the amount of $2,500
 2   each as compensation to Plaintiffs for their time, effort and service as representative
 3   plaintiffs in the Action (the “Service Awards”). The Service Awards shall be funded
 4   from the Fee and Expense Award to the extent approved by the Court. It is well settled
 5   that “[c]ourts routinely approve incentive awards to compensate named plaintiffs for
 6   the services they provided and the risks they incurred during the course of the class
 7   action litigation.” In re Lorazepam & Clorazepate Antitrust Litig., 205 F.R.D. 369, 400
 8   (D.D.C. 2002) (alteration in original); In re McKesson HBOC, Inc. ERISA Litig., 391 F.
 9   Supp. 2d 844, 851 (N.D. Cal. 2005) (approving $5,000 incentive awards); In re PayPal
10   Litig., No. C-02-1227-JF PVT, 2004 WL 2445244, at *2 (N.D. Cal. Oct. 13, 2004)
11   (approving $2,500 incentive awards).
12         Accordingly, for all of the foregoing reasons, Plaintiffs respectfully submit that
13   preliminary approval of the Settlement should be granted.
14   V.    NOTICE
15         Plaintiffs seek Court approval of the form and manner of the Notice and
16   Summary Notice, attached to the Stipulation as Exhibits C and D. The Stipulation
17   provides that DPW shall publish the Summary Notice via a press release to be widely
18   distributed by a reputable press release distribution service, file the Summary Notice in
19   a Current Report on a Form 8-K with the SEC that includes a link to the Stipulation
20   (with the Reforms attached as Exhibit A to the Stipulation) and Notice that shall be
21   posted on the Investor Relations portion of DPW’s website, and post the Notice together
22   with the Stipulation on the Investor Relations portion of DPW’s corporate website. Stip.
23   ¶ 6. The Notice and Summary Notice provides information relating to: (i) the
24   Settlement terms; (ii) the date of the Final Hearing; and (iii) the protocol for DPW
25   Shareholders to comment upon the proposed Settlement.
26          Rule 23.1 does not require individual notice of a shareholder derivative
27   settlement, as is required for a class action, but rather provides for notice only “in the
28   manner that the court orders,” thus affording the Court substantial discretion. Because


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 1   no individual claims are at stake, and because a direct notice program would be costly
 2   enough to swallow up the benefits of most derivative settlements, notice of a
 3   derivative settlement under Rule 23.1 by publication only is appropriate. The contents
 4   of the Notice and Summary Notice, “describes the terms of the settlement in sufficient
 5   detail to alert those with adverse viewpoints to investigate and to come forward and
 6   be heard.” In re Hewlett-Packard Co. S’holder Derivative Litig., 716 F. App’x 603,
 7   609 (9th Cir. 2017) (quoting Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 575
 8   (9th Cir. 2004)). Thus, the form and manner of the proposed Notice and Summary
 9   Notice to DPW Shareholders constitutes the best notice practicable under the
10   circumstances and satisfies the requirements of Rule 23.1, due process, and any other
11   applicable law. Carlough v. Amchem Prods., Inc., 158 F.R.D. 314, 323 (E.D. Pa.
12   1993) (“notice by publication ‘may be the principal means for informing
13   [shareholders] of their . . . rights.’”) (citing Manual for Complex Litigation § 30.211,
14   supra note 2, at 221).
15          Indeed, the Parties’ proposed method of notice has been approved by numerous
16   courts as reasonable and sufficient to satisfy due process. 4 Accordingly, the proposed
17   form and plan of notice warrant this Court’s approval.
18
     4
19    The use of website posting coupled with other publication has gained broad acceptance
     in light of the rapid transition of the investment community from a paper-based to a
20   web-based disclosure system. See Use of Electronic Media for Delivery Purposes, 60
21   Fed. Reg. 53458, 53459 (Oct. 13, 1995) (to be codified at 17 C.F.R. pts. 231, 241 &
     271) (“The Commission believes that the use of electronic media should be at least an
22   equal alternative to the use of paper-based media.”). The notice program that the Parties
23   stipulated to employ in this case – publication by a press release, posting on DPW’s
     website, and the filing of a Form 8-K with the SEC – is akin to the means of notice that
24
     has been widely used in similar shareholder derivative settlements and approved by
25   numerous courts as meeting due process. See, e.g., Bushansky v. Armacost, Case No.
     12-cv-01597-JST, 2014 WL 2905143, at *6 (N.D. Cal. June 25, 2014) (requiring a
26
     notice plan to include a link on defendant’s investor relations website that leads to a
27   webpage to be displayed for a minimum of 30 days, a press release to be issued by
     defendant, and a Form 8-K filing with the SEC); In re Rambus Inc. Derivative Litig.,
28
     Case No. C 06-3513 JF (HRL), 2009 WL 166689, at *2 (N.D. Cal. Jan. 20, 2009)
     (approving settlement where notice included a link on a company website, press release,
                                                12
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 1   VI.   SCHEDULING OF EVENTS
 2         Plaintiffs’ Counsel propose the following schedule for the publication of the
 3   proposed Notice and Summary Notice, the filing of submissions in support of final
 4   approval of the Settlement, the timing regarding any objections by DPW Shareholders
 5   and any response(s) thereto, and the Final Hearing. This schedule is similar to those
 6   used and approved by courts in derivative settlements and provides due process to DPW
 7   Shareholders with respect to their rights concerning the Settlement.
 8
                        Event                               Time for Compliance
 9
10     Deadline for filing the Summary              Not later than ten (10) calendar days
11     Notice in a Current Report on a Form         following the entry of the Preliminary
       8-K with the U.S. Securities and             Approval Order
12     Exchange Commission, publishing the
13     Summary Notice via a press release,
       and posting the Notice together with
14     the Stipulation (with Exhibit A to the
15     Stipulation) on DPW’s corporate
       website
16
       Deadline for Plaintiffs to file papers in    At least twenty-eight (28) calendar
17     support of the final approval of             days prior to the Final Hearing
       Settlement and the Fee and Expense
18
       Award
19     Deadline for any shareholder                 At least twenty-one (21) calendar days
20     objections to the Settlement to be filed     prior to the Final Hearing
       with the Court
21
22     Deadline for Plaintiffs to file any          At least seven (7) calendar days prior
       response to objections, if any, by DPW       to the Final Hearing
23     Shareholders
24
25
26
27   and a Form 8-K filing with the SEC). See also Peak Fin., LLC v. Hassett, Case No.
     2:15-cv-01590-GMN-CWH, 2016 U.S. Dist. LEXIS 147565, at *3-4, *6-7, *9 (D. Nev.
28
     Oct. 20, 2016) (approving settlement where notice comprised filing of a Form 8-K with
     the SEC, and the company’s posting on its website).
                                                   13
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 1
 2                     Event                            Time for Compliance
 3
       Final Hearing date                       Fifty-five (55) calendar days after entry
 4                                              of the Preliminary Approval Order, or
 5                                              later at the Court’s convenience

 6   VII. CONCLUSION
 7         Given the benefits the Settlement provides to DPW and DPW Shareholders,
 8   Plaintiffs respectfully request the Court to: (i) preliminarily approve the proposed
 9   Settlement; (ii) approve the form and manner of the Notice and Summary Notice, and
10   direct the publication of the Notice and Summary Notice; and (iii) schedule the Final
11   Hearing.
12
13   Dated: February 24, 2020
14                                        By: /s/ Alex B. Heller
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